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                   IN THE UNITED STATES DISTRICT COURT


                FOR THE SOUTHERN DISTRICT OF GEORGIA


                                SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,
                                                                         (■'D
                                                                         r---

                                                                                I'j-j
                Plaintiff,                                                                   c:
                                                                      COP-:
                                                                                        co.^
                   V.                             4:16CR224-07                          'L'-o.

EUSI SAMPSON,


                Defendant.




                                     ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in    the   parties'   motions     have   been   resolved           by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED,        this    ML    day of December,        2016




                                     UNITED   STATES   MAGISTRATE    JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
